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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

DREAM DEFENDERS, NEW FLORIDA
MAJORITY, ORGANIZE FLORIDA,
and FLORIDA IMMIGRANT
COALITION,
                                                   Case No. 4:20-cv-485
       Plaintiffs,                                 Judge Walker


              v.


LAUREL M. LEE, in her official capacity
as Florida Secretary of State,


       Defendants.




                              Notice of Dismissal
                       Federal Rule of Civil Procedure 41
      Please take notice that Plaintiffs Dream Defenders, New Florida Majority

Education Fund, Organize Florida Education Fund, and Florida Immigrant

Coalition hereby dismiss this action pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). No defendant has filed a responsive pleading complaint or filed a
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motion for summary judgment and this dismissal is therefore as of right pursuant to

Rule 41(a)(1)(A)(i).

Dated: October 9, 2020                   Respectfully Submitted,
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*Application for admission pro hac vice forthcoming
